          Case 5:20-cv-01134-R Document 45 Filed 11/09/21 Page 1 of 3




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

DEDRICK LEMONT HICKEY,                            )
                                                  )
                            Plaintiff,            )
                                                  )
v.                                                )      No. CIV-20-1134-R
                                                  )
OKLAHOMA COUNTY SHERIFF’S                         )
DEPARTMENT, et al.,                               )
                                                  )
                            Defendants.           )

                                          ORDER

       Plaintiff filed this action pursuant to 42 U.S.C. § 1983, alleging violation of his

constitutional rights with regard to certain conditions at the Oklahoma County Detention

Center. Pursuant to 28 U.S.C. § 636(b)(1)(B) and (C), the matter was referred to United

States Magistrate Judge Suzanne Mitchell for initial proceedings. On October 18, 2021,

Judge Mitchell issued a Report and Recommendation wherein she recommended that the

Motion to Dismiss filed by Defendant Oklahoma County Sheriff’s Department be granted,

because the entity is not subject to suit pursuant to Oklahoma law. She further

recommended that the Motion to Dismiss filed by Defendant Nicole Burns, a public

defender, be granted, because Plaintiff failed to allege facts to support the inference that

Ms. Burns operated “under color of state law” as required before she may be held liable

under § 1983, and public defenders do not operate “under color of state law” in providing

a defense to an indigent client. Finally, because Plaintiff was unable to secure the addresses

and to effect service on Defendant P.D. Taylor and certain jail administrators, because they

are no longer associated with the Oklahoma County Jail, Judge Mitchell recommended
             Case 5:20-cv-01134-R Document 45 Filed 11/09/21 Page 2 of 3




dismissal pursuant to Rule 4. (Doc. No. 43). The matter is currently before the Court on

Plaintiff’s timely objection to the Report and Recommendation, which gives rise to the

Court’s obligation to undertake a de novo review of those portions of the Report and

Recommendation to which Plaintiff makes specific objection. (Doc. No. 44). Having

construed his objection in this manner, the Court finds as follows.

         The first paragraph of Plaintiff’s objection addresses an issue common throughout

his filings, his transfer between the Oklahoma County Detention Center and the Cleveland

County Detention Center. Apparently in the various moves over the last seven months,

most of Plaintiff’s legal materials have been misplaced or discarded by officials.1 He says

he did not receive a special report, which is not problematic, because no report was filed.

Rather, on June 8, 2021, Judge Mitchell suspended the obligation to file a report in light of

the pending motions to dismiss. (Doc. No. 41). Plaintiff does not take issue with Judge

Mitchell’s conclusions regarding the Oklahoma County Sheriff’s Department or Defendant

Burns. Rather, he states that because of his pro se status he was unaware of immunity laws

when he filed the Complaint. (Doc. No. 44, p. 2). Accordingly, the Report and

Recommendation is adopted as to Defendants the Oklahoma County Sheriff’s Department

and Defendant Burns, and Plaintiff’s claims against these Defendants are hereby dismissed.

         Plaintiff completes his objection by asserting that he wishes to be given an

opportunity to amend his complaint, or alternatively, dismissal should be without prejudice


1
  On July 23, 2021, Plaintiff filed a Notice with the Court indicating that he had been transferred between the two
facilities and discovered that his legal property was missing. (Doc. No. 42). He requested copies of the special report
and any motions because he anticipated service had been made to the Cleveland County Detention Center, while he
was at the Oklahoma County Jail. It appears from the docket sheet that the Sheriff’s Department sent a copy of its
Motion to Dismiss to the Cleveland County Detention Center, and that Defendant Brown sent her motion to the
Oklahoma County Detention Center.
                                                          2
           Case 5:20-cv-01134-R Document 45 Filed 11/09/21 Page 3 of 3




to permit him an attempt to “figure out the appropriate part[ies] to the complaint.” (Doc.

No. 44, p. 3). In light of Plaintiff’s current inability to ascertain the appropriate Defendants

or how to effect service on persons previously affiliated with the Oklahoma County Jail,

the Court concludes that dismissal without prejudice is the most prudent course of action.

Accordingly, the Court hereby ADOPTS the Report and Recommendation to the extent it

is consistent with this Order and dismisses the Complaint without prejudice.

       IT IS SO ORDERED this 9th day of November 2021.




                                               3
